Case 1:17-cr-00101-LEK Document 483 Filed 05/20/19 Page 1 of 4     PageID #: 4256



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Attorneys for Plaintiff
UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,               )   CR. NO. 17-00101 LEK
                                        )
          Plaintiff,                    )   UNITED STATES’S MOTION FOR
                                        )   MISCELLANEOUS RELIEF
    vs.                                 )   RELATING TO ITS RESPONSE TO
                                        )   DEFENDANT’S SECOND MOTION TO
ANTHONY T. WILLIAMS,                    )   COMPEL; CERTIFICATE OF SERVICE
                                        )
          Defendant.                    )
                                        )

 UNITED STATES’S MOTION FOR MISCELLANEOUS RELIEF RELATING
  TO ITS RESPONSE TO DEFENDANT’S SECOND MOTION TO COMPEL

      The government respectfully submits this motion for miscellaneous relief

relating to its Response To Defendant’s Second Motion To Compel, ECF No. 482.
Case 1:17-cr-00101-LEK Document 483 Filed 05/20/19 Page 2 of 4          PageID #: 4257



      First, the government seeks leave to file this response brief out-of-time.

Good cause supports this request. Pursuant to an oral Order of this Court, dated

May 10, 2019, the deadline to respond to the Defendant’s Second Motion to

Compel was May 17, 2019. The undersigned counsel for the government filed two

other briefs in this matter on May 17, 2019, and attempted to timely file this

response brief, but encountered technical difficulties with filing via the Court’s

ECF system beginning at approximately 11:45 p.m. Attachment A is a print-out of

the error message received from the ECF website after every attempted filing.

Accordingly, the undersigned counsel hand-delivered a hardcopy brief to the

Court’s late night dropbox, but did not do so until 12:22 a.m. on May 18, 2019.

      Second, the government intended to file Exhibit B to its response in

opposition with certain information redacted. Exhibit B represents an e-mail sent

from Bureau of Prisons counsel to the undersigned counsel, and should have the

signature block of the sender redacted. However, the Exhibit B that was filed with

the Response brief left the signature block unredacted.

      Accordingly, the government moves to have the original Exhibit B removed

from the docket, and replaced with the attached Exhibit B. Alternatively, the

government moves to have its entire Response Brief and exhibits removed from

the ECF docket, with leave to promptly re-file the brief together with a corrected,

redacted Exhibit B.


                                          2
Case 1:17-cr-00101-LEK Document 483 Filed 05/20/19 Page 3 of 4           PageID #: 4258



                                   CONCLUSION

      For the reasons above, the government respectfully requests that the Court

grant leave to file its Response To Defendant’s Second Motion to Compel out of

time, and to file a corrected, redacted Exhibit B.

             DATED: May 20, 2019, at Honolulu, Hawaii.

                                                KENJI M. PRICE
                                                United States Attorney
                                                District of Hawaii


                                                By /s/ Gregg Paris Yates
                                                  GREGG PARIS YATES
                                                  Assistant U.S. Attorney




                                          3
Case 1:17-cr-00101-LEK Document 483 Filed 05/20/19 Page 4 of 4        PageID #: 4259



                          CERTIFICATE OF SERVICE

             I hereby certify that, on the dates and by the methods of service noted

below, a true and correct copy of the foregoing was served on the following by the

method indicated on the date of filing:

Served Electronically through CM/ECF:

      Lars Isaacson, Esq.
      hawaii.defender@earthlink.net

      Attorney for Defendant
      ANTHONY T. WILLIAMS

Served by First Class Mail:

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             DATED: May 20, 2019, at Honolulu, Hawaii.


                                             /s/ Melena Malunao
                                             U.S. Attorney’s Office
                                             District of Hawaii
